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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Blackbeam, LLC
                                  Plaintiff,
v.                                                      Case No.: 1:14−cv−04849
                                                        Honorable Ruben Castillo
Promier Products, Inc.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 19, 2014:


         MINUTE entry before the Honorable Ruben Castillo:Defendant's agreed motion
for fifth extension of time to answer or otherwise plead to the complaint [25] is granted.
Since the parties have reached an agreement on all substantive terms, the Court on its own
motion, hereby dismisses this lawsuit without prejudice subject to a dismissal with
prejudice upon the filing of a stipulation or appropriate settlement documents. If the
parties are unable to finalize the settlement agreement, the parties will be given full leave
to reinstate this lawsuit. The motion hearing set for 11/25/2014 and the status hearing set
for 12/3/2014 are vacated.Mailed notice(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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